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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
IN RE APPLICATION OF USA PURSUANT          )    ML No: 1:22-ml-00919
TO 18 U.S.C. § 3512 FOR ORDER FOR          )
COMMISSIONER’S APPOINTMENT FOR             )
MONEY LAUNDERING INVESTIGATION             )
__________________________________________)

Reference:     DOJ Ref. # CRM-182-80014

              APPLICATION OF THE UNITED STATES FOR AN ORDER
       FOR A COMMISSIONER’S APPOINTMENT PURSUANT TO 18 U.S.C. § 3512

       The United States of America, moving by and through its undersigned counsel,

respectfully submits this ex parte application for an Order, pursuant to 18 U.S.C. § 3512,

appointing the undersigned attorney, Erica Y. Laster, Trial Attorney, Office of International

Affairs, Criminal Division, U.S. Department of Justice (or a substitute or successor subsequently

designated by the Office of International Affairs), as a commissioner to collect evidence and to

take such other action as is necessary to execute this and any subsequent, supplemental requests

for assistance with the above-captioned criminal matter from Argentina. In support of this

application, the United States asserts:

                                          RELEVANT FACTS

       1.      The Central Authority of Argentina, the Ministry of Foreign Affairs and Worship,

submitted a request for assistance (the Request) to the United States, pursuant to the Inter-

American Convention on Mutual Assistance in Criminal Matters with Related Optional Protocol,

U.S.-Arg., January 10, 1995, S. TREATY DOC. NO. 105-25 (1996) (the Treaty).

       2.      As stated in the Request, Federal Court No. 3 in Criminal and Correctional

Matters in Argentina, is prosecuting Juan Martin Costantino (Costantino), Francisco Costantino

(Francisco), and others for money laundering and human trafficking, which occurred from in or
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about 2004 to November 30, 2015, in violation of the criminal law of Argentina, specifically,

Articles 303 and 145 of the Argentine Penal Code. Under the Treaty, the United States is

obligated to assist in response to the Request.

       3.      According to Argentine authorities, Costantino, Francisco, and others (the

defendants) were charged for recruiting, transporting, and receiving victims for forced labor and

human trafficking. The defendants operated a farm in Argentina where they forced victims to

work, exploiting them for rural labor and trafficking them in violation of Argentine law. The

victims were forced to work on farms called Costamari and La Loma in the city of Mar del Plata.

The victims called Costantino the master, owner, or owner’s son. Francisco, Costantino’s father,

was known as the master, owner, or boss. Argentine authorities are unsure of when the

exploitation of these victims occurred, but report that the victims stated they worked on the farm

as early as 2004.

       4.      A search of La Loma showed that forty-one people worked on the farm in

exploitive conditions. During their time at La Loma, some of the victims received a payment of

25% of the price at which their harvested agricultural commodities sold. However, the

landowners and supervisors fixed the rate and price of the agricultural commodities sold. Other

victims earned a fixed rate per crate packed of the agricultural commodities. For example, one

victim earned 4 AR (approximately 0.03 USD) per crate he packed. Another victim labored as a

seasonal work, receiving advances on his paycheck and collecting the remaining balance at the

end of the season before returning to his homeland.

       5.      At least seventeen additional victims were forced to work for a fixed monthly rate

which was often less than the minimum pay rate required, in violation of Argentine labor laws.

These victims included a family with two underage children. Two more victims performed work

on various buildings, earning 200 AR (approximately 1.50 USD) for eight hours of work per day.

These victims were paid on a weekly basis. In addition, Argentine authorities believe two
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different victims were recruited to work and live on the farm, earning a monthly rate of 7,500

AR (approximately 56 USD). Unlike the other victims, these victims told authorities they did

not live on the farm, but rather lived in a house in another locality. However, these victims had a

room at their disposal on the farm so that they could stay overnight if the workday was long.

       6.      Argentine authorities also learned that the defendants considered some of the

women “help” for their husbands. These women received no payment for their labor, worked

unregistered, and without health insurance. The victims often lived on the farm in precarious

conditions. Further, the accused used the victims’ low rate of literacy, underage children, and

position as foreigners (many of the workers were from Bolivia) to take advantage of them.

Further, the victims were provided loans and/or advances of their paychecks in order to buy food

while at the farm.

       7.      Argentine authorities also interviewed the victims at Costamari Farm to get

additional information about the conditions on that farm. Of the ninety-two victims interviewed,

thirty-two were minors and two were working on site when authorities arrived. The victims

stated that they responded to Francisco and Costantino and often worked every day of the week

for at least ten hours per day. Authorities learned that the victims were not registered, and the

defendants failed to provide labor contracts with clearly defined working terms and payment

amounts. The victims worked under an indebtedness system and were threatened with

nonpayment if they wanted to take a day off.

       8.      Further, the homes they lived in were small and cramped with nylon walls where

many parents and children slept in the same room. These homes were placed near an

agrichemical storehouse or near a chamber used for human waste. The victims report that they

shared a bathroom outside of their homes, but the bathroom had no hot water and functioned on a

poor and hazardous electricity installation. One victim stated that he previously used a cesspit to

use the restroom, but after making several requests, the defendants provided a toilet for him.
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Argentine experts analyzed field water samples at the farms and concluded that the water

provided by the defendants to the victims is not drinkable. One of the defendants testified at a

preliminary hearing that Francisco stopped going to the farm because toxicants made him sick.

        9.      The Argentine Financial Intelligence Unit informed Argentine authorities that

Costantino, Francisco, and their wives are the holders of Lloyd’s bank account number

XXXXXXXXXXX3301, located in the United States. However, the defendants failed to report

this bank account number to Argentine authorities in violation of Argentine law. Argentine

authorities believe that the defendants used this bank account to transfer proceeds received from

human trafficking and from both the victims and the payment for goods harvested using the

victim’s illegal labor.

        10.     To further the investigation, Argentine authorities have asked U.S. authorities to

provide bank records pertaining to Lloyd’s bank account number XXXXXXXXXXX3301.

                                      LEGAL BACKGROUND

        11.     A treaty1 constitutes the law of the land. U.S. Const. art. VI, cl. 2. The provisions

of a treaty have equal footing with acts of Congress and are binding on the courts. See Asakura

v. City of Seattle, 265 U.S. 332, 341 (1924); United States v. The Peggy, 5 U.S. 103 (1801);

United States v. Emuegbunam, 268 F.3d 377, 389 (6th Cir. 2001). The provisions of a treaty

should be construed liberally “to give effect to the purpose which animates it.” United States v.

Stuart, 489 U.S. 353 (386) (1989) (internal quotations marks omitted). To the extent that the

provisions of a treaty are inconsistent with a preexisting statutory provision, the treaty supersedes

the statute. Zschernig v. Miller, 389 U.S. 429, 440-41 (1968).

        12.     The United States and Argentina entered into the Treaty to promote more

effective judicial cooperation and assistance between the parties in criminal matters. See Treaty,



1
 The term “Treaty” used herein encompasses bilateral treaties, multilateral conventions, instruments, and
protocols.
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pmbl. The Treaty obligates each party, upon request, to provide assistance to the other in

criminal investigations, prosecutions, and related proceedings, including assistance in serving

documents, obtaining testimony, statements, and records, and executing searches and seizures.

Article 1. In addition, the Treaty, like 18 U.S.C. § 3512, authorizes federal courts to use

compulsory measures to further the execution of such requests. Article 5 (“The courts of the

Requested State shall have authority to issue subpoenas, search warrants, or other orders

necessary to execute the request.”).

       13.     When executing a treaty or non-treaty request for assistance from a foreign

authority, an attorney for the government may file an application to obtain any requisite court

orders under 18 U.S.C. § 3512. This section authorizes a federal court to issue such orders and

provides in pertinent part:

       Upon application, duly authorized by an appropriate official of the Department of
       Justice, of an Attorney for the Government, a Federal judge may issue such orders
       as may be necessary to execute a request from a foreign authority for assistance in
       the investigation or prosecution of criminal offenses, or in proceedings related to
       the prosecution of criminal offenses, including proceedings regarding forfeiture,
       sentencing, and restitution.

                       *                      *                      *

       [A]n application for execution of a request from a foreign authority under this
       section may be filed . . . in the District of Columbia.

                       *                      *                      *

       The term “foreign authority” means a foreign judicial authority, a foreign
       authority responsible for the investigation or prosecution of criminal offenses or
       for proceedings related to the prosecution of criminal offenses, or an authority
       designated as a competent authority or central authority for the purpose of making
       requests for assistance pursuant to an agreement or treaty with the United States
       regarding assistance in criminal matters.

18 U.S.C. § 3512(a)(1), (c)(3), (h)(2).

       14.     Congress enacted this section to make it “easier for the United States to respond

to [foreign] requests by allowing them to be centralized and by putting the process for handling

them within a clear statutory scheme.” 155 Cong. Rec. 6,810 (2009) (statement of Sen.
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Whitehouse); Foreign Evidence Request Efficiency Act of 2009, Pub. L. No. 111-79, 123 Stat.

2086.2 This section provides clear authority for the federal courts, upon application duly

authorized by an appropriate official of the Department of Justice, to issue orders that are

necessary to execute a foreign request.

        15.     An application is duly authorized by an appropriate official of the Department of

Justice when the Office of International Affairs3 has reviewed and authorized the request, and

executes the request itself or delegates execution to another attorney for the government.4 Upon

such a duly authorized application, Section 3512 authorizes a federal judge5 to issue “such orders

as may be necessary to execute [the] request,” including: (1) search warrants under Fed. R.

Crim. P. 41; (2) orders for electronic records under 18 U.S.C. § 2703; (3) orders for pen registers

or trap and trace devices under 18 U.S.C. § 3123; and (4) orders appointing a person to direct the

taking of testimony or statements and/or the production of documents or other things. See 18

U.S.C. § 3512(a)(1)--(b)(1). In addition, a federal judge may order any necessary procedures to

facilitate the execution of the request, including any procedures requested by the foreign


2
  Prior to the enactment of 18 U.S.C. § 3512, the United States routinely utilized the procedures
authorized by 28 U.S.C. § 1782 (the “commissioner” process) to execute requests from foreign
authorities. See In re Request from the United Kingdom, 685 F.3d 1, 11 (1st Cir. 2012) (18 U.S.C. §
3512 provides a more streamlined process than 28 U.S.C. § 1782, the statute under which foreign requests
were executed prior to enactment of section 3512); see also Intel Corp. v. Advanced Micro Devices, Inc.,
542 U.S. 241, 247-49 (2004) (describing history of Section 1782). When enacting Section 3512,
Congress anticipated that improved U.S. handling of foreign requests would ensure reciprocity in
response to U.S. requests for assistance in its criminal investigations. See, e.g., 155 Cong. Rec. 10,093
(2009) (statement of Rep. Schiff).

3
 The Attorney General, through regulations and Department of Justice directives, delegated to the Office
of International Affairs the authority to serve as the “Central Authority” under treaties and executive
agreements between the United States and other countries pertaining to mutual assistance in criminal
matters. See 28 C.F.R. 0.64-1, 0.64-4, and Appendix to Subpart K, Directive Nos. 81B and 81C (2018).

4
 “Section 3512 can be invoked only when authorized by OIA. . . . Such authorization occurs when an
attorney for the government, or his or her office, receives the referral of the request for execution from
OIA.” Memorandum from the Deputy Attorney General to Department of Justice Components (May 16,
2011) (on file with the Office of International Affairs).
5
 The term “federal judge” includes a magistrate judge. See 18 U.S.C. § 3512(h)(1); Fed. R. Crim. P.
1(b)(3)(B) (including a magistrate judge in the definition of federal judge).
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authority to facilitate its use of the evidence. 18 U.S.C. § 3512(a)(1).

       16.     Section 3512 also authorizes any person appointed to direct the taking of

testimony or statements and/or the production of documents. The appointed person has authority

to: (1) issue an order requiring a person to appear and/or produce documents or other things; (2)

administer any necessary oaths; and (3) take testimony or statements and receive documents or

other things. 18 U.S.C. § 3512(b)(2). In ordering a person to appear and/or produce documents

or other things, the person appointed, commonly referred to as the “commissioner,” typically

uses a subpoena entitled “Commissioner’s Subpoena.” Any such subpoena may be served or

executed anywhere in the United States. 18 U.S.C. § 3512(f).

                                     REQUEST FOR ORDER

       17.     The Office of International Affairs has reviewed and authorized the Request, and

is executing the Request itself. Consequently, this application for an Order appointing the

undersigned attorney as a commissioner to collect evidence and to take such other action as is

necessary to execute the Request has been “duly authorized” within the meaning of Section

3512. In addition, the Request was submitted by an appropriate “foreign authority,” the Ministry

of Foreign Affairs & Worship, the designated Central Authority in Argentina, seeks assistance in

the prosecution of money laundering and human trafficking – criminal offenses in Argentina.

The requested Order is necessary to execute the Request, and the assistance requested, i.e., the

production of bank records, falls squarely within that contemplated by Section 3512 and the

Treaty. Finally, this application was properly filed in the District of Columbia.

       18.     This application is being made ex parte, consistent with U.S. practice in its

domestic criminal matters.

       19.     When executing a foreign request for assistance in a criminal matter, both Section

3512 and the Treaty authorize the use of compulsory process comparable to that used in

domestic criminal investigations and/or prosecutions. Because subpoenas utilized in U.S.
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criminal proceedings (i.e., grand jury and criminal trial subpoenas) are issued without notice to

any person other than the recipient (i.e., no notice to targets or defendants), orders and

commissioner subpoenas issued in execution of a foreign request pursuant to Section 3512 and

the applicable treaty likewise should require no notice other than to the recipients. This is true

even if the Requesting State, as here, seeks financial records, because the Right to Financial

Privacy Act, 12 U.S.C. §§ 3401 et seq., including its notice provisions, does not apply to the

execution of foreign requests for legal assistance. Young v. U.S. Dept. of Justice, 882 F.2d 633,

639 (2d Cir. 1989), cert. denied, 493 U.S. 1072 (1990); In re Letters of Request from the

Supreme Court of Hong Kong, 821 F. Supp. 204, 211 (S.D.N.Y. 1993); In re Letter of Request

for Judicial Assistance from the Tribunal Civil de Port-Au-Prince, Republic of Haiti, 669 F.

Supp. 403, 407 (S.D. Fla. 1987). Accordingly, this Court should authorize a commissioner to

collect the evidence requested without notice to any person(s) or entity(ies) other than the

recipient(s) of any given commissioner subpoena.

       20.     Therefore, the United States respectfully requests that this Court issue the

attached Order, pursuant to 18 U.S.C. § 3512, appointing the undersigned attorney, Erica Y.

Laster, Trial Attorney, Office of International Affairs (or a substitute or successor subsequently

designated by the Office of International Affairs) as a commissioner, authorizing the undersigned

to take the actions necessary, including the issuance of commissioner’s subpoenas, as needed, to
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collect the evidence necessary to execute any pending request for assistance and any subsequent,

supplemental requests in connection with the same matter, in a manner consistent with the

intended use of the with the intended use of the evidence.

                                             Respectfully submitted,

                                             VAUGHN A. ARY
                                             DIRECTOR
                                             OFFICE OF INTERNATIONAL AFFAIRS
                                             OK Bar Number 12199



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